                 IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF TENNESSEE



UNITED STATES OF AMERICA

     v.                                     No. 3:25-cr-115

                                            Judge Barbara D. Holmes
KILMAR ARMANDO ABREGO GARCIA,


                        Defendant.



          SUPPLEMENTAL SUBMISSION REGARDING COORDINATION
             BETWEEN THE DEPARTMENT OF JUSTICE AND THE
                 DEPARTMENT OF HOMELAND SECURITY




                                      i
Case 3:25-cr-00115   Document 60     Filed 06/26/25   Page 1 of 8 PageID #: 550
        In March, the Executive Branch—specifically the Department of Homeland Security

(“DHS”)—unlawfully arrested and renditioned Kilmar Armando Abrego Garcia (“Mr. Abrego”)

to a notorious Salvadoran prison where he was certain to be tortured. A court had previously ruled,

however, that Mr. Abrego could not be deported to El Salvador. A lawyer working for the

Department of Justice (“DOJ”), defending DHS, confessed error, only to be fired for his candor to

the court.1 On April 10, the Supreme Court then ruled in plain language that the Executive Branch

had acted unlawfully and ordered it to facilitate Mr. Abrego’s return.2

        Instead of complying with that order, the government pivoted, delaying Mr. Abrego’s

return and working through Joint Task Force Vulcan, including its DOJ and DHS partners, to

concoct this criminal case. DOJ and DHS promised extraordinary benefits to undocumented people

who had committed crimes to provide evidence, however unreliable, in support of this case. In

short order, DHS, working hand in glove with DOJ, retrieved Mr. Abrego from El Salvador to

stand trial in this District. This Court evaluated the government’s evidence, such as it is, and found

it to be unreliable and certainly insufficient to warrant pretrial detention. ECF 43. Judge Crenshaw

agreed that the government was unlikely to show success on the merits of its motion for revocation.

ECF 55. The Executive Branch, acting through the DOJ and Task Force Vulcan, now claims to be

powerless to ensure that DHS will cooperate with any efforts to protect Mr. Abrego’s rights

during the pendency of this case. Such claims strain credulity.3


1
   See Gov’t Accountability Project, Protected Whistleblower Disclosure of Erez Reuveni
Regarding Violation of Laws, Rules & Regulations, Abuse of Authority, and Substantial and
Specific Danger to Health and Safety at the Department of Justice (June 24, 2025),
https://www.judiciary.senate.gov/imo/media/doc/06-24-
2025__Protected_Whistleblower_Disclosure_of_Erez_Reuveni_Redacted.pdf.
2
  Noem v. Abrego Garcia, 145 S. Ct. 1017 (2025).
3
  Given the DOJ and Task Force Vulcan’s flimsy claims of impotence, Mr. Abrego’s counsel in
his civil action have moved in the District of Maryland for an order that Mr. Abrego be returned
to that District after this Court releases him from pretrial custody. See Abrego Garcia v. Noem,
No. 25 Civ. 951 (D. Md. June 26, 2025), ECF 203. As stated at yesterday’s hearing, counsel have
                                                  1
    Case 3:25-cr-00115       Document 60        Filed 06/26/25      Page 2 of 8 PageID #: 551
       As Judge Crenshaw held yesterday, “the Executive Branch”—not DOJ or DHS in isolation,

but the government as a whole—“is in control of where [Mr. Abrego] awaits trial in this case” and

“whether to hold him for pending deportation proceedings or not.” ECF 55 at 1. We agree. As the

government’s conduct in this case makes plain, DOJ has the power to coordinate with DHS to

ensure that (1) Mr. Abrego is not deported while these charges are pending and (2) he is housed in

a facility that allows him to adequately prepare for trial in this case. We welcome the Court’s order

that the DOJ—including the Acting United States Attorney in this District, as well as the Directors

and Deputy Director of Task Force Vulcan—make “best efforts” to effectuate both of those goals.

       First, the government has itself repeatedly acknowledged that this case results from

extensive coordination between DOJ and DHS. On June 6, 2025, when announcing the indictment

against Mr. Abrego, Attorney General Pamela Bondi specifically commended DHS, among other

“partners,” for its help in investigating and transporting Mr. Abrego back to the United States to

face these charges.4 That same day, Deputy Attorney General Todd Blanche lamented that the

public was “complaining” that the DOJ and DHS had worked together to investigate Mr. Abrego.5

The next day, Acting Director of Immigration and Customs Enforcement (“ICE”), Todd Lyons,

lauded the interagency coordination, praising “the work the men and women of ICE, FBI and DOJ”

and the contributions of Homeland Security Investigations (“HSI”).6 And Lyons specifically called


no objection to Mr. Abrego being returned to his family in Maryland to await trial, and the civil
motion requests that Mr. Abrego be returned to Tennessee whenever necessary to participate in
his criminal case. Id. at 1. Accordingly, any relief afforded by the District Court in Maryland would
comport with this Court’s conditions of release.
4
  Attorney General Bondi Announces Charges Against Abrego Garcia, Dep’t of Just. (June 6,
2025) [hereinafter Bondi], https://www.justice.gov/opa/video/attorney-general-bondi-announces-
charges-against-abrego-garcia.
5
  Kilmar Abrego Garcia Was Indicted on ‘Very Serious’ Charges, US Deputy Attorney General
Says, Fox News (June 6, 2025) [hereinafter Blanche], https://www.foxnews.com/video/
6373969491112.
6
  Acting ICE Director Blasts Los Angeles Mayor over ICE Raid Resistance, Fox News (June 7,
2025) [hereinafter Lyons], https://www.foxnews.com/video/6373996743112.
                                                 2
  Case 3:25-cr-00115        Document 60        Filed 06/26/25      Page 3 of 8 PageID #: 552
out DHS Secretary Kristi Noem, who “ha[d] said from the beginning that [Mr. Abrego] is a

criminal” and an “MS-13 gang member.” Id. It beggars belief that these Executive Branch leaders,

who have all publicly affirmed their coordinated efforts to bring Mr. Abrego back to the United

States apparently to “face justice,”7 now suddenly expect to engage in no coordination whatsoever.

        Second, this case was built on—and likely will continue to depend upon—the work of Joint

Task Force Vulcan, which Attorney General Bondi herself has stated was “created in partnership

with the Department of Homeland Security.”8 In multiple of its own press releases, the DOJ has

recognized DHS’s integral role in Task Force Vulcan.9 In announcing charges against Mr. Abrego,

DOJ specifically referenced Task Force Vulcan.10 Members of that task force—including its

co-directors and deputy director—have signed the indictment and multiple filings in this case. See

ECF 3, 8, 14, 46, 54. And at the June 13 hearing, the government’s sole witness, an HSI special

agent, acknowledged that he used “the assistance of a joint task force” in marshaling agency

resources to investigate Mr. Abrego. See ECF 47 at 87:23-88:3.

        Third, and most critically, DOJ has already proven that it can coordinate with DHS to stay

removal proceedings in the interest of prosecuting this case. As the HSI agent testified at the June

13 hearing, one of the government’s cooperating witnesses has been granted deferred action on

deportation because “he was a prospective witness” and relief was required “otherwise he would



7
  See Bondi, supra note 4; Blanche, supra note 5; Lyons, supra note 6.
8
    Memorandum from Pamela Bondi, Att’y Gen., to all Dep’t Emps. (Feb. 5, 2025),
https://www.justice.gov/ag/media/1388546/dl?i.
9
   See Press Release, Three of the Highest-Ranking MS-13 Leaders in the World Arrested on
Terrorism and Racketeering Charges (Feb. 23, 2023), https://www.justice.gov/usao-
edny/pr/three-highest-ranking-ms-13-leaders-world-arrested-terrorism-and-racketeering-charges;
Press Release, Homeland Security Investigations Announces Indictment of 3 MS-13 leaders on
Terrorism, Racketeering Charges (Feb. 24, 2023), https://www.ice.gov/news/releases/homeland-
security-investigations-announces-indictment-3-ms-13-leaders-terrorism.
10
      See @TheJusticeDept, X (June 6, 2025), https://x.com/TheJusticeDept/status/
1931100699690971342; see also Bondi, supra note 4.
                                                 3
    Case 3:25-cr-00115      Document 60        Filed 06/26/25      Page 4 of 8 PageID #: 553
be deported.” Id. at 32:5-32:13.11 That witness has two prior felony convictions, has been deported

five times, and was serving a 30-month sentence for human smuggling, but he was released early

to a halfway house as part of his cooperation—all of which shows the significant lengths to which

DOJ has gone to secure cooperation from DHS to prosecute this case. Id. at 31:18-32:4; 80:19-

81:4; 122:6-122:10; ECF 43 at 26. DHS is also contemplating granting two other cooperating

witnesses deferred action on deportation. ECF 47 at 74:23-75:4; 122:11-122:15; ECF 43 at 26.

         Only when it comes to Mr. Abrego does the government suddenly feign impotence,

complaining that “the prosecution would lose the meaningful opportunity to try its case” because

“[h]ow fast [Mr. Abrego] could or would be deported remains to be seen.” ECF 54 at 7. That claim

must not be credited, given the circumstances of this case. DHS has publicized its investigation of

Mr. Abrego, including by releasing a purported “[b]ombshell [i]nvestigative [r]eport” about the

traffic stop that led the government to pursue charges against him.12 And DHS has lauded his return

to the United States to face those charges.13 If DHS were to then turn around and frustrate Mr.

Abrego’s prosecution while those very charges are pending by removing him from the United

States, that would mean the Executive Branch has no confidence in this trumped up case.

         At bottom, the government’s claim that it cannot control where Mr. Abrego is detained or

whether he is removed from the United States is based on a convenient fiction. DOJ and DHS are

part of a single Executive Branch; they “wield significant authority, but that authority remains


11
   Under 8 U.S.C. § 1231(c)(2)(A), the Secretary of Homeland Security “may stay the immediate
removal of certain aliens if it decides that such removal is not practicable or proper, or if the alien
is needed to testify in a pending prosecution.” Johnson v. Guzman-Chavez, 594 U.S. 523, 528
(2021). Apparently Secretary Noem has seen fit to do so already in this case for the government’s
witnesses against Mr. Abrego. Just not for Mr. Abrego himself.
12
   Press Release, Dep’t of Homeland Sec., DHS Releases Bombshell Investigative Report on
Kilmar Abrego Garcia Suspected Human Trafficking Incident (Apr. 18, 2025),
https://www.dhs.gov/news/2025/04/18/dhs-releases-bombshell-investigative-report-kilmar-
abrego-garcia-suspected-human.
13
   See @Sec_Noem, X (June 6, 2025), https://x.com/Sec_Noem/status/1931088689842782559.
                                                  4
     Case 3:25-cr-00115      Document 60        Filed 06/26/25       Page 5 of 8 PageID #: 554
subject to the ongoing supervision and control of the elected President.” Seila Law LLC v. CFPB,

591 U.S. 197, 224 (2020). Here, the White House has stated that Mr. Abrego was returned to the

United States to “meet the full force of American justice.”14 It can no doubt act to ensure

coordination among its constituent agencies, including DOJ and DHS. See Nat’l Min. Ass’n v.

McCarthy, 758 F.3d 243, 249 (D.C. Cir. 2014) (Kavanaugh, J.) (“[The] President . . . is to ensure

that such consultation and coordination occurs in the many disparate and far-flung parts of the

Executive behemoth. The right hand should know what the left hand is doing.”).

         Indeed, as Judge Crenshaw has recognized, nothing prevents DOJ and DHS from

coordinating with one another when a defendant is released from DOJ custody but is subject to an

ICE detainer. See United States v. Alvarado-Velasquez, 322 F. Supp. 3d 857, 860 (M.D. Tenn.

2018) (Crenshaw, J.) (recognizing that “inter-agency cooperation should be the norm” in such

circumstances); see also United States v. Resendiz-Guevara, 145 F. Supp. 3d 1128, 1135-36 (M.D.

Fla. 2015) (expressing disbelief that when DHS had referred the defendant to the U.S. Attorney’s

Office for prosecution, why suddenly “two Executive Branch agencies that began a concerted

effort to deal with Defendant suddenly changed course”). Where, as here, DOJ and DHS have

acted in concert since this case’s inception, proclaiming with one voice that Mr. Abrego “will

never go free on American soil,”15 the government cannot credibly claim that DOJ is powerless to

coordinate with DHS to ensure that Mr. Abrego’s case proceeds without jeopardizing his

constitutional rights and the fair administration of justice. As Judge Crenshaw explained, “[i]f the

Government finds this case to be as high priority as it argues here, it is incumbent upon it to ensure

that Abrego is held accountable for the charges in the indictment.” ECF 55 at 14. “If the

Department of Justice and DHS cannot do so, that speaks for itself.” Id.


14
     @PressSec, X (June 6, 2025), https://x.com/PressSec/status/1931083870130040952.
15
     @TriciaOhio, X (June 22, 2025), https://x.com/TriciaOhio/status/1936929967423754665.
                                                  5
     Case 3:25-cr-00115      Document 60        Filed 06/26/25      Page 6 of 8 PageID #: 555
Dated: June 26, 2025                      Respectfully submitted,
       New York, New York

                                           /s/ Sean Hecker
                                          Sean Hecker*
                                          Jenna M. Dabbs*
                                          David Patton*
                                          HECKER FINK LLP
                                          350 Fifth Avenue, 63rd Floor
                                          New York, NY 10118
                                          Telephone: (212) 763-0883
                                          Fax: (212) 564-0883
                                          shecker@heckerfink.com
                                          jdabbs@heckerfink.com
                                          dpatton@heckerfink.com

                                          * admitted pro hac vice

                                          Rascoe Dean (No. 034209)
                                          SHERRARD ROE VOIGT & HARBISON PLLC
                                          1600 West End Avenue, Suite 1750
                                          Nashville, Tennessee 37203
                                          Telephone: (615) 742-4200
                                          Fax: (615) 742-4539
                                          rdean@srvhlaw.com

                                          Counsel for Defendant Kilmar Armando
                                          Abrego Garcia




                                      6
  Case 3:25-cr-00115   Document 60   Filed 06/26/25   Page 7 of 8 PageID #: 556
                               CERTIFICATE OF SERVICE

       I hereby certify that on June 26, 2025, I electronically filed the foregoing document with

the clerk of the court by using the CM/ECF system, which will send a notice of Electronic Filing

to the following: Acting United States Attorney, Robert E. McGuire, 719 Church Street, Suite

3300, Nashville, Tennessee 37203.



                                                           /s/ Sean Hecker




                                               7
  Case 3:25-cr-00115       Document 60       Filed 06/26/25      Page 8 of 8 PageID #: 557
